                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      NO. 3:09-00262
                                                    )      JUDGE CAMPBELL
TERRY KRETZ, ROBERT HALEY                           )
and DARYL BORNSTEIN                                 )

                                               ORDER

       Pending before the Court are the following Motions:

       1.      Motion for an Order of Forfeiture Consisting of $__________ United States

Currency Money Judgments as to Counts One, Two, Five, and Twelve (Docket No. 201);

       2.      Motion for an Order of Forfeiture Consisting of $__________ United States

Currency Money Judgments as to Counts One, Two Five, and Twelve (Docket No. 203); and

       3.      Motion for an Order of Forfeiture Consisting of $__________ United States

Currency Money Judgments as to Counts One, Two, and Ten (Docket No. 205).

       The Motions are DENIED without prejudice to refiling once the Government identifies

the specific dollar amount it is requesting.

       It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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